Case 20-71519-jwc               Doc 7       Filed 11/09/20 Entered 11/09/20 12:16:48                     Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

                                                           )
    In re                                                  )     Chapter 11
    SHOWKAT HOSSAIN,                                       )
      Debtor(s)                                            )     Case No. 20-71519-jwc
                                                           )
                                                           )
                                                           )




                         REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
                    FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)
  PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

Bank (Sam's Club MC - Last four digits of account: 9063 ), a creditor in the above-captioned chapter 11 case,

requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy Rules)

and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended,

the Bankruptcy Code), that all notices given or required to be given and all papers served or required to be served

in this case be also given to and served, whether electronically or otherwise, on:


              Synchrony Bank
              c/o PRA Receivables Management, LLC
              PO Box 41021
              Norfolk, VA 23541
              Telephone: (877)885-5919
              Facsimile: (757) 351-3257
              E-mail: Claims_RMSC@PRAGroup.com


    Dated: Norfolk, Virginia
    November 9, 2020
                                                               By:/s/ Valerie Smith
                                                               Valerie Smith
                                                               c/o PRA Receivables Management, LLC
                                                               Senior Manager
                                                               PO Box 41021
                                                               Norfolk, VA 23541
                                                               (877)885-5919




    Assignee Creditor: Sam's Club MC - Last four digits of account: 9063
